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                         UNITED STATES DISTRICT COURT

                                               for the

                                   District of Massachusetts


 JOSE MARIA DECASTRO, an individual                )   Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        )   OPPOSITION TO DEFENDANT
                                                   )   YOUTUBE (GOOGLE LLC)’S
 v.                                                )   MOTION TO TRANSFER TO THE
                                                   )   NORTHERN DISTRICT OF
 JOSHUA ABRAMS, an individual, et al.,             )   CALIFORNIA, OR IN THE
                                                   )   ALTERNATIVE, TO DISMISS
 Defendants.                                       )
 ____________________________________              )

                                             INTRODUCTION


      Plaintiff Jose DeCastro (“Plaintiff”), offers the following response to Defendant YouTube

(GOOGLE LLC) (“YouTube” or “Defendant”)’s Motion to Transfer Case to Northern District of

California, Motion to Dismiss for Failure to State a Claim (ECF No. 121). In support of this

response, Plaintiff submits a memorandum of law, which is fully incorporated herein.

                                    POINTS AND AUTHORITIES

      A. Plaintiff did not agree to sue in the Northern District of California. YouTube has

clearly not yet read the First Amended Complaint (ECF No. 62) and the First and Second

Supplemental Complaints (ECF Nos. 79 and 118) brought by Plaintiff in this action. This action

is not regarding any agreement between Plaintiff and YouTube.

      Plaintiff has brought this copyright infringement action against YouTube users that are

committing wholesale copyright infringement of Plaintiff’s creative works. YouTube has been

joined as it is at least partially liable for its failures to abide by the Digital Millennium Copyright
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Act (“DMCA”). In violating the DMCA, YouTube has lost any safe harbor protections that it

would normally have under the Communications Decency Act at 47 U.S.C.S. § 230.

     Although YouTube interprets their Terms of Service agreement (“TOS”) between Plaintiff

as the “Plaintiff promised to pursue all federal litigation regarding the service exclusively in the

Northern District of California”, the actual terms say otherwise. The TOS defines Service as “the

products, services and features we make available to you as part of the platform”. The TOS then

goes on to say:

           All claims arising out of or relating to these terms or the Service will be governed by
     California law, except California’s conflict of laws rules, and will be litigated exclusively
     in the federal or state courts of Santa Clara County, California, USA. You and YouTube
     consent to personal jurisdiction in those courts.

     This makes it clear that the forum selection clause in the TOS and the TOS itself only apply

to claims between users of the service and YouTube related to the products and services that

YouTube provides the users, not to all claims related to YouTube. YouTube’s wild interpretation

would require anyone that’s ever watched a YouTube video be bound to bring all claims against

YouTube in accordance with the forum selection clause in its TOS regardless of whether the

claim arose due to its Service.

     YouTube then cites many cases related to parties suing YouTube for the services it

provides, which are irrelevant here. The instant action is actually like Viacom Internatl., Inc. v.

YouTube, Inc., 676 F.3d 19 (2d Cir.2012) where YouTube did not argue that its TOS applied,

and rightly so. Viacom’s action was related to YouTube’s failure to take appropriate action for

copyright infringement on its platform. Viacom had arguably used YouTube in order to see that

there was infringing content on the platform, and therefore arguably had agreed to the TOS.

     YouTube is not a necessary party in this action under Fed. R. Civ. P. 19, and so its

forum selection clause would be unreasonable. C. White Marine, Inc. v. S&R Corp. (2013) 30


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Mass.L.Rep. 631. Citing Fred Lurie Assocs. v. Glob. All. Logistics, Inc., 453 F. Supp. 2d 1351

(S.D. Fla. 2006). YouTube was joined in Plaintiff’s supplemental complaint because in a related

action occurring after Plaintiff’s First Amended Complaint, YouTube acted in violation of the

DMCA, allowing its users to keep infringing content on its platform, and accepting at least

partial liability. Even if YouTube’s TOS applied for a forum selection clause, YouTube was

added later, and is not a necessary party. A forum selection clause only prevents a party from

arguing against using that forum for its own convenience. Here Plaintiff argues for the

convenience of the necessary parties, especially the named Defendants Katherine Peter and

Joshua Abrams who reside in or around Massachusetts. Additionally, this Court doesn’t allow for

changes of heart.

     Circumstances have changed. YouTube cites Atl. Marine Constr. Co. v. United States

Dist. Court, 571 U.S. 49, 134 S. Ct. 568 (2013). Atl. Marine cites The Bremen v. Zapata Off-

Shore Co., 407 U.S. 1, 92 S. Ct. 1907 (1972) which goes on to explain that the Court drew the

distinction between a situation in which parties contemplated the alleged inconvenience at the

time the agreement was negotiated and a situation where the inconvenience is a result of

circumstances which were not present at the negotiation stage. Not knowing that YouTube would

violate the DMCA and add itself to this action after it was filed would clearly apply.

     The burden is on YouTube in showing why there is good cause for the transfer. Only

when a forum selection clause is free from fraud, influence, or overweening bargaining power,

does the burden shift to the other party. Here, Plaintiff does hereby declare that YouTube had

superior bargaining strength and that Plaintiff only had the opportunity to adhere to or reject the

agreement. BABN Techs. Corp. v. Bruno, 25 F. Supp. 2d 593 (E.D. Pa. 1998). Additionally, even

where not unconscionable, the significance of a forum selection clause in a boilerplate agreement



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is greatly reduced. Ne. Theatre Corp. v. Edie & Ely Landau, Inc., 563 F. Supp. 833 (D. Mass.

1983).

      B. Plaintiff has not made copyright pleading failures and should be allowed to amend

its complaint. Although a copyright claim can be dismissed for not having alleged that the

copyrights have been registered in accordance with the statute (if raised), a copyright claim only

requires two elements. (1) ownership of a valid copyright, and (2) copying of constituent

elements of the work that are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340,

111 S. Ct. 1282 (1991). Here, YouTube has joined the party a bit late, and the other parties never

raised the issue.

      Plaintiff does hereby declare that it has successfully and completely registered at least one

key video in its complaint and that the registration can easily be found by searching the public

catalog at loc.gov.

      C. Plaintiff did not license its videos to YouTube for any use. The key video in this

litigation was never published on YouTube. Also, again, Plaintiff’s complaint is against

YouTube allowing its users to infringe on Plaintiff’s content. The TOS does not allow for this,

and clearly the related license only allows those users to playback or embed the content

(emphasis added):

             You also grant each other user of the Service a worldwide, non-exclusive, royalty-
      free license to access your Content through the Service, and to use that Content, including
      to reproduce, distribute, prepare derivative works, display, and perform it, only as enabled
      by a feature of the Service (such as video playback or embeds). For clarity, this license
      does not grant any rights or permissions for a user to make use of your Content
      independent of the Service.

                                            CONCLUSION

      Since both parties stipulated to joining YouTube in this action due to YouTube’s actions,

and the Court granted that motion, it would be surprising to see YouTube’s dismissal or transfer


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granted based on their weak and boilerplate arguments that are reused every time someone sues

them over their TOS. YouTube should at least be required to read the complaint and plead

relevant arguments.

      If YouTube is dismissed from this action, it will just add the possibility for the remaining

Defendants to make third-party complaints against YouTube for being liable to those Defendants

for all or part of the Plaintiff’s claims against those Defendants.

      It would actually be convenient for Plaintiff to have this action transferred, but Plaintiff

certainly did not agree to a relevant forum selection clause that would require it. Even if Plaintiff

did agree, exceptional circumstances exist that would make it unreasonable, especially for the

other parties.

      Plaintiff prays that this Court deny both of YouTube’s motions.

                                            DECLARATION

      I declare under penalty of perjury, that the foregoing is true and correct.

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

      The court has waived this local rule for the remainder of this action.


Dated: May 30, 2023                                Respectfully submitted,

                                                   /s/ Jose DeCastro
                                                   Jose DeCastro
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                                                   Santa Monica, CA 90404
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                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose DeCastro


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